              Case 2:15-cr-00015-TLN Document 115 Filed 09/15/16 Page 1 of 2

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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-00015-GEB
11
                                   Plaintiff,              ORDER SEALING DOCUMENTS
12                                                         AS SET FORTH IN GOVERNMENT’S NOTICE
                             v.
13
     KAMALJIT BILLEN,
14
                                   Defendant.
15

16

17           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s three-page sentencing document

19 pertaining to defendant KAMALJIT BILLEN , and Government’s Request to Seal shall be SEALED

20 until further order of this Court.

21           It is further ordered that access to the sealed documents shall be limited to the government and
22 counsel for the defendant.

23           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for
24 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the

25 Government’s request, sealing the identified document serves a compelling interest. The Court further finds

26 that, in the absence of closure, the compelling interests identified by the Government would be harmed.
27 / / /

28 / / /


       [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30     FORTH IN GOVERNMENT’S NOTICE
              Case 2:15-cr-00015-TLN Document 115 Filed 09/15/16 Page 2 of 2

 1 In light of the public filing of the Government’s request to seal, the Court further finds that there are no

 2 additional alternatives to sealing the identified document that would adequately protect the compelling

 3 interests identified by the Government.

 4 Dated: September 14, 2016

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET             2
30    FORTH IN GOVERNMENT’S NOTICE
